       Case 2:18-cv-05187-CJB-KWR
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                                                                   of 171 of 17




  ~ FRIEDMAN
                                                          Jeffrey Friedman, LCSW
                                                          Licensed Clinical Social Worker and Family
  ~   FAMILY                                               Therapist
    ~THE RAPY                                             Friedman Family Thernpy 120801 Biscayne Blvd
                                                           Suire 403 IAvcntura. FL 13 3 I80
May 5, 2018


To whom it may concern.



I have assessed Ms. Do,y Tumips.xd on 04/23/2018 and I am familiar with her history and the limitations
imposed by her disorder.


Ms. Turnipseed has been dealing with symptoms of an emotional disorder found in DSM-V for the past three
years. This is due to a history of traumatic events in her life. Her Emotional Support Animal is a dog that is a
mixed hound breed. She has trained her ESA extensively. She benefits from having her emotional support
animal in her residence. Her disorder affects her daily life and particularly her sleep and helps her to manage
her anxiety and ADHD symptoms.. Having her esa provides her with a feeling of safety and security. As
reasonable accommodation please allow Ms. Turnipseed to keep her esa in her residence. This accommodation is
supported by the fair housing act (FHA).



Sincerely,




Jeffrey Friedman, LCSW Florida
 Case 2:18-cv-05187-CJB-KWR
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                                                             of 172 of 17



                                                                         INVOICE
Aliadie Veterinary Hospital, LLC
8271 Jefferson Highway
Harahan, LA 70123
(504) 737-8910


                                  WHEN THE HURT JS THERE WE CARE

                                                                          Printed:   02-01- 18 at 3:01p
FOR:     Dory Tumipseed                                                   Date:      02-01-18
       · 6379 Bellaire Drive                                              Account:   10426
         New Orleans, LA 70124                                            Invoice:   374764
         (504) 352-31B9

Date          For                  Qty Description                        Price   Discount   Net Price

02-01-18                               .Discover payment                                        -71 .94

Merchant ID: 16588927 , Approval code: 00156B, Transaction 10. 245521898
Ref#: 22118874, Act#; ••-••-•·••5423, Exp: XX/XX, Entry· SWIPED. Card. DISCOVER
Your card balance is not available
I AGREE TO PAY ABOVE TOTAL AMOUNT ACCORDING TO CARD ISSUER A ~ T
                                                                          /!)·
                                                                        xt:;;;•
02-01-18      Sasha                  1 Senbnel 26-50 (6 months)·                                 66.00

   Old balance        Charges           Tax      Payments                                New balance
           0.00          66.00         '5.94         71.94                                        0.00


Reminders for: Sai;ha (Weight: 34.B lbs - Sy)              Last done
   06-05-18     Fecal Flotation                              06-05-17
   06-05-18    Occult Heartworm Snap Test                    06-05-17
   06-05:18    Rabies, Canine                                06-06-17
  ·06-05-18    OHLP-PV Annual                                06-05-17
   06-05-18    Exam with annual                              06-05-17
   06-05-18    Kennet Cough                                  06-05-17
   06-06-18    Corona Virus                                  06-05-17
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                                                                    Page 3Page
                                                                           of 173 of 17
Conn-~ .                                                                                                                 Page 1 of2
 Adoption Contract- Jun 16 2013                                                               Tel.: 504-368-5191

    ~~                                                                                                     LA Shelter
                                                                                           1700 Mardi Gras Boulevard
  ,. .r~~Vp
   ...,_.,..
  V#SJ~"-~ ...~
                                                                                    New Orleans, Louisiana 70114 USA
                                                                                                     inlo@la-spea.org
 Dory Turnipseed                                                                                Person ID: P1602M71
 2418 Rouseau S1reel                                                                            Tel:504-352-3189 Ext.
 New Orleans. Louisiana 70130 USA



Animal Information
Animal ID:  AXXXXXXXX          Name:              Flesty        Types:     Dog                    Gender: Female
ARN:           LA50669A        DOB:               5/2812012     Breeds:    Piott Hound/Mix        Altered: Yes
Chip#:         OA13611323      Current Age:       1 y0m19d      Colors:    BrowrvWhite            Size:    Medium
Type:          24PetWatch      Age Group:         Adult Dog     Pattern:   Brindle                Weight:


Adopted Animal
1. The LA/SPCA agrees to a~ow the Adopter to adopt and the Adapter agrees to adopt the animal(s) liste<I above.

Sultabla Home
2. The Adopter agrees to provide a suitable home for Iha Adopte<I Animal. A suitable home i s one which provides
proper food, water, sheller, veterinary care, exercise, love and attention, as well as one that observes all stale and
local animal ordinances and anti-cruelty laws.

Treatment of Adopted Animal
3. The adopter acknowl edges and agrees that
  a. the Adopted Animal will be treated humanely;
  b. the Adopted Animal will not be used for any Inhumane purpose;
  c. the Adopted Animal will not be used for any experimental purpose;
  d. the Adopte<I Animal will not be used for food;
  e. the Adopted Animal will not be subjected to any cosmetic surgery, including but not limited to, ear cropping,
       tai docking, and declawing;
  f . the Adopted Animal wlll not be u5ed for any illegal purpose, including but not limited to dog fighting; and
  g. if the Adopted Animal is impounded at an animal shelter, the Adopte, will pay all fines and charges necessery
       to claim the Adopted Animal.

Su rglcal Starltlzatlon
4. The Adopter agrees to have the Adopted Animal spayed or neutered. The costs of this surgery is part of the
adoption fee and the surgery is part of the adoption process. All cats and dogs not already spayed or neutered at
the time of adoption, must remain at the LA/SPCA for sterilization. These animals remain the property of the
l.NSPCA until lhe surgety Is completed.

Repo11eaalon
5. The Adopter acknowledges and agrees that the LA/SPCA has lhe right to request the return of the Adopted
Animal if the LA/SPCA, in its sole discretion, delannlnes any of the following:
  a. the Adopted Animal is not sterilized;
  b. the Adapted Animal Is not being kept in living conditions satisfactory to the LA/SPCA;
  c . lhe Adopted Animal is not receiving proper veterinary care; or
  d. the Adopter has breached any tenns of this contract.
The Adopter agrees to pay reasonable attorney's fees and court costs In the event that this matter is forwarded to
an attorney for enforcement. Upon raposse$Sion, the Adopter agrees thal he o r she shall have no further right of
ownership to the Adopter Animal.

lnablllty to Keep Adopted Animal
6. The Adopter agrees that if for any reason the Adopter cannot keep the Adopted Animal:
  a . the Adopted Animal will not be sold or given lo a research facility; and
  b. the Adopte<I Animal will be returned to the LA/SPCA or another hL1111ane society that is operating in the
location
     where the Adopter Is residing at such time.

Status of Adoptar
7. The Adopter is over the age of 18 years. The adopter acknowledges that the Adopted Animal is not being
adopted for anyone other than the Adopter and the Adapter's immedi ate family, who share the same dwelling, and
that the Adopte, Is and will continue to be responSlbla for the Adopted Animal.
             Case 2:18-cv-05187-CJB-KWR
                  Case 2:18-cv-05187 Document
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Cont pct                                                                                                                 Page 2 of2
     ·"•
 Vaccinations and Medical Treatment
 8. The Adopter agrees to have the Adopled Animal receive all adoption related medical services as stipulated on
 the adoption health schedule In a timely manner. The Adopter agrees to assume costs for these services if they
 are obtained later than a month from the scheduled date. The Adopter agrees to consult a licensed veterinarian at
 least annually during the life of the Adopted Animal to ensure full preventative care for the animal.

 Health of Adopted Animal
 9. Every animal receives an inttial exam by a veterinary technician when it enters the LA/SPCA as well as a
 veterinary e)(amination by a veterinarian prior to spay/neuter or at the time spay/neuter is verified. As the LA/SPCA
 has limited information about the animal's veterinary history prior to entering the LA/SPCA, the LA/SPCA is not
 able to provide a health guarantee.

 The adopter agrees to assume financial responsibility for all veterinary care including diagnosis and treatment of
 undiagnosed conditions as well as annual veterinary care for any and an conditions including but not limited to
 heartworm preventative, flea preventative and vaccinations. The LA/SPCA may provide veterinary care for
 conditions its veterinarians have diagnosed and begun treatment prior to adoption unless the adopter prefers to
 complele treatment through a private veterinarian at the adopter's cost.

The adopter is provided with a "gift of Insurance; which provides reimbUrsement through the inStJrance company
for the diagnosis and treatment of conditions not diagnosed prior to adoption. It Is the adopter's responsibility to
activate the policy and follow the claims process in accordance with the policy.

Temperament Behavior
10. The Adopter understands and agrees:
  a. that animals are different from human beings in their responses to human actions:
 b. that the actions of animals are often unpredictable;
  c. that animals should be closely supervised when they are with children:
  d. that an animal's behavior may change after it leaves the LA/SPCA and accustoms itself to a home or other
environment.

Trial Period
11. The Adopter agrees that there will be a 14-day trial period. If the adoption Is not successful during the 14-day
period, the Adopter has the option of returning the Adopted Animal during the trial period for an adoption credit.
Only one exchange Is permitted.

Adoption Refunds
12. Adoption fees are non-refundable and are considered contributions to the lA/SPCA.

Dlaclalmer
13. The UVSPCA makes no claim or representation as to the temperamenL health, age, or mental disposition of
any animal put up for adoption.
Release and Discharge
14. The Adopter hereby releases and discharges the LA/SPCA, its officers. directors and employees from any
liability whalioever resulting from any injury or damage to any person or property caused by said animal, and from
any causes of action, claims, suits or demands that may arise as a result of Injury or damage caused by or to said
animal.

Waiver
15. The Adopter hereby waives any causes of action. claims, suits or demands that Adopter. or his 0t her heirs,
executors or assigns have or may have in the future against the LNSPCA, its offices. directors and employees for
any reason whatsoever related to the adoption of the Adopted Animal, Including but not limited ~ the repossession
o the Adopted Animal in accordance with this Contract.
                                                                            '

                                      Date                                                             PCA
The LA/SPCA exclusively feeds dry Science Diet products to its animals while In the shelter. When you adopt from
the LNSPCA, you receive a $5.00 coupon for Science Diet food. Unless you indicate in writing otherwise, the
LA/SPCA will release your name, address and phone number to Science Diet for the purpose of receiving coupons
and other promotional materials.
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              The Louisiana Society for the Prevention of Cruelty to Animals
                           proudly presents this certificate to:




                                   ~ a#ub
                     In recognition of your successful completion of
                             Intermediate Obedience
           and for showing commitment to fostering the hun1an-canine bond.
                                               ,,._,...
                                        ~,~
&11/4 ~                t~/19f/S"
                                     q111s1~\~tA                   ti?Jl/4 2?%--!ih
Trainer                     Date           ,  l\ea..rt        tf   Beha\~Or & Training Supervisor
                                       1
                                               111ea.wh   10\'.
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    Certificate of Achievement
      The Louisiana Society for the Prevention of Cruelty to Animals



                   proudly presents this certificate to

                               SJlSJ-{Jl
           In recognition ofyour successful completion of
                       Basic Obedience Training
                     andfor showing commitment
          to fostering a positive human-canine relationship



Trainer                Date
                                       ~
                                     ~flSI~)~!,~  ,o,,f
                                                                 6[//\, t1.1.l&v4e7
                                       ~lea11l\                     Community Outreach
           Case 2:18-cv-05187-CJB-KWR
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              The Louisiana Society for the Prevention of Cruelty to Animals
                           proudly presents this certificate to:



                                    das&ia
                      In recognition of your successful completion of
                                    Agility for Fun
            and for showing commitment to fostering the human-canine bond.



&lliJ ~ , CIC <5;fl0/IU
 Trainer                    Date
                                        ~
                                      ~~[!.~~!~~
                                                          full& ~ 1 C---1C
                                                          Behavior & Training Coordinator
:t/Ql£UIO
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                                                                           of 178 of 17


     Homo >    Florida >   Haltammle


   Jeff M Friedman
   Clinitlll Social Wotl</llleffl!)lt, MSW, LCSW
     VOlllled by Psychology Today




                                                                       www.friedmanfamilytx.com

                                                                      friedmanfami lytherapY@gmail.com

                                                                                    (954) 494-9914




   Friedman FamBy Therapy
   1850 S Ocean Drive
  .Apt 804
   Halandale, Florida 33009




   I am wel wrsed in treating indilliduats with mood or arudety issues. Great with couples or femmes suffeting from
   distress.

   I am a warm and caring therapist EJ,perienced with adolescams as wen as adults. Value incorporating feedback from
   clients to ensure they receive the service they are looking for.

   My practice Is unique because my mother and I ~ k together. We can offer co therapy so there is a male and female
   perspective on the case.


             Cejl or &!llBil Jeff M Friedman for a fr99 phone consult8tion nr:m. (786) 661-3388



   Qualifications
   Yeani in Practice: 5 Years
   School: Widen..- University
   Year Graduated: 2007
   Ucense No. and Stata: SW11058 Florida


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             Case 2:18-cv-05187-CJB-KWR
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     AFTER VISIT SUMMARY                                                                                                          ~\Wllllttc,Q(Wi,,d'"


     Dory Turnipseed DoB: 9/4/1981                                             r:;J 3/16/2-018 8:30 AM        9 Jeff Hv,y • Psychiatry 504-842-4025

                , w. -



     Instructions
                         ,,....,.,,,_   ,,;...,..,   •.N,,~-


                               from Bradley T Peet, MD
                                                               .   -                            - .........


                                                                                                 Today's Visit
                                                                                                                                      --·~----
                                                                                                                                   ....

     1nm Pick up these medications at RITE AtD-760
                                                                                                 You saw Bradley T Pee~ MD on Friday
      ~
      0 0
          HARRISON AVE. • NEW ORLEANS, LA - 760
             HARRISON AVENUE                                                                     March 16, 2018. The following issue was
                                                                                                addressed: Attention deficit hyperactivity
             escitalopram oxalate
                                                                                                disorder (ADHDJ, predominantly
             Address: 760 HARRISON AVENUE, NEW ORLEANS lA                                       inattentive type.
                       70124-3156
             Phone: 504·483·2383
                                                                                                   ex:, Blood
                                                                                                   ~-1  Pressure
                                                                                                                             ,_g, 8MI
            Pick up these medications from any pharmacy with                                            . 129/66             ½,f 30.89
     ~
     00
            your printed prescription
                                                                                                  fc:)' Weight              rv·,,i Pulse
                                                                                                                           ,1
            dextroamphetamine-amphetamine (2 p<escriptions)
                                                                                                  C_~ 174 lb                \V1 9s
                                                                                                               6.1 oz
            Follow-up in about 3 months
            (around 6/16/2018).



    What's Next
    You currently have no upcoming appo,otmE':nls scheduled.


    ~ Your Next 5 Appointments
                     Provider                           _Depanment           Dept Phone
    6/15/2018 8:30 Bradley Todd Peet, Jeff Hwy·                              504-842·4025
    AM               MD                                 Psychiatry


    'el Diagnoses this Visit
                                                                           Comments
    Attention deficit hyperactivity disorder (ADHD),
    predominantly inattentive type • Primary



    Allergies as of 3/16/2018
                                                               Reactions
    Shellfish Containing Products                              Hives




                                                                                                Patient Portal
                                                                                               View your After Visit Summary and more
                                                                                               onfine at bttps·Umyochsn,:r:omt
                                                                                                               .....·.•,•···--··· ... . -·~-···~
    Dory Tumipseed (MRN: 1904134) • PrintE':d at 3/16/18 8:43 AM                                                                Page 1 of 3 E,:,lc
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,
    AFTER VISIT SUMMARY
    Dory Turnipseed DoB: 9/4/1981                              t:;, i/5/2018 2:30 PM Q Jeff Hwy· Psychiatry 504-842-4025




    Instructions from Bradley T Pee:. MD                                      Today's Visit
                                                                                                                       - -
            Pick up these medications at Waigreens Drug Store
    ~
    00
            11496 - NEW ORLEANS, LA - 10i ROBERT E LEE BLVD
                                                                              You saw Bradley T Peet, MD on Friday
                                                                              January S, 2018. The following issues
            AT NEC of West End & Robert E Lee                                 were addressed: AOHO (attention deficit
            escitalopram oxalate                                              hyperactivity disorder), inattentive type
            Address: 101 ROBERT E LEE BLVD. NEW ORLEANS LA                    and An•iely problem.
                      70124-2560
            Phose: 504-282-2203                                                 ,._,...., Blood      .p:\      BM!
                                                                                \,Q'!i    Pressure   f:i!j' 31.25
            Pick up these medicattons from any oharmacy with                      ,, 134/74
    ~       your piinted prescription
                                                                                                     fJoJ·. Height
    00                                                                         :~) Weight
            dextroamphetamine-amphetamine (2 prescriptions)                    I'""'~, 176 lb               S' 3"
                                                                                -      6.4oz
            Return in about 3 months                                           :r(~·,,.1 Pulse
            (around 4/5/2018).                                                  h,.)J; 98



    What's Next
    You currently h.!ve no upcoming appointm~nts scheduled.


    ~Your Next 5 Appointments
                    Provider           Department             Dept Phone
    4/6/2018 3:00   Bradley Todd Peet, Jeff Hwy •             504-842-4025
    PM              MO                 Psychiatry


    Q,Diagnoses this Visit
                                                          Comments
    Attention deficit hyperactivity disorder (ADHD),
    predominantly inattentive type • Primary
    GAD (generalized anKiely disorder)




    Allergies as of 1/5/2018
                                              Reactions
    Shellfish Containing Products             Hives




                                                                              Patient Portal
                                                                              View your After Visit Summary and more
                                                                              online at https·flmyornsne, org/
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                                                                    11 of 17

                  Name: DoryTumipseed j 00B: 9/4/1981 j MRN: 1904134 J PCP: Matthew A Mcqueen, MO



Appointment Details

Visit Summary



 ~
 A~               ~if SUMMARY
 Dory Turnipseed            Dos: 9/4/1981        Cl 4/11/2017   8:00 AM   9   Jeff Hwy• Psychiatry 504-842-4025



 Instructions from Eric West. MD
 ~ Pick up these medications from any pharmacy with your printed prescription
  0 0      dextroamphetamine-amphetamine (2 prescriptions) • escital opram oxalate




 Today's Visit
 You saw Eric West MD on Tuesday April 11, 2017. The following issues were addressed: Attention deficit
 hyperactivity disorder (ADHD), predominantly inattentive type and GAD (generalized anxiety disorder).

  , r!)J   Blood Pressure        0.   BMI                ("\'_, Weight
   <       125/82
                                1
                                 0'1 30.29              1-~-J 171 lb




 What's Next
 You currently   have no upcoming appointments scheduled.


 Your Next 5 Appointments
                             Provider                     Department                       Dept Phone
 6/15/2018 8:30 AM           Bradley Todd Peet MD         Jeff Hwy • Psychiatry            504· 842-4025


 Diagnoses this Visit
                                                                                     Comments
 Attention deficit hyperactivity disorder (ADHD), predominantly inattentive type
 . Primary
 GAD (gen~atized anxiety disorder)
                    Case 2:18-cv-05187-CJB-KWR
                         Case 2:18-cv-05187 Document
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                                                                Filed 06/20/18
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;

    AFTER VISIT SUMMARY
    Dory Turnipseed DoB· 9/4/1981                                    ~    7/14/2017 3:00 PM    9 Jeff Hwy· Psyd1,atry 504-842·4025

    ...,.,•• ,t,»   •



    Instructions from Bradley Todd P~ct. MO                                            Today's Visit
                        Today's medication ch,mges                                     You saw Bradley Todd Pee~ MO on Friday
                        e START taking:                                                July 14, 2017. The following issues were
                                                                                       addressed: ADHD (attention deficit
                            dextroamphetamine-amphetamine 30 MG 24 hr capsule
                            (ADDERALL XR)                                              hyperactivity disorder), inattentive type
                            Replaces dextroamphe1amine-amphetam,ne 20 MG 24 hr         and Anxiety problem.
                            capsule
                            dextroamphetamine-amphetamine 15 mg tablet
                            (ADDERAll)
                                                                                        ,~. Blood
                                                                                        \fJ).i
                                                                                            Pressure
                                                                                                              G%    BMl
                            Replaces dextroamphet~mine-amphetamme 20 mg
                                                                                                               ),5 31.00
                            tablet
                                                                                                   142/83
                                                                                                                0, I Height
                        0   STOP taking:
                            dextroamphetamine-amphetamine 20 MG 24 hr capsule
                                                                                        r
                                                                                            0 ·1   r;~~b       (
                                                                                                                j J 5' 3"
                            (ADDEAALL XRJ
                            Replaced by dextroamphetamine-amphetam,ne 30 MG
                            24 hrcapsu~
                                                                                        l'.{J},; ~~4
                            dextroamphetamine-amphetamine 20 mg tablet
                            (ADDERAll)
                            R~placed by dextroamphetam,ne-amphetamine 15 mg
                           tablet
                        Accurate as of 7/14/17 3:34 PM.
                        Review your updated medication list below.

                        Pick up these medications at Walgreens Drug Store
      ~
      00
                        11496 - NEW ORLEANS, LA • 101 ROBERT E LEE
                        BLVD AT NEC of West End & Robert E Lee
                        escitalopram oxalate
                        Address: 101 ROBERT E LEE BLVD, NEW ORLEANS LA
                                  70124-2560
                        Phone: 504-282-2203


                        Pick up these medications from any pharmacy with
                        your printed prescription
                        dextroamphetamine-amphetamine (2 prescriptions)


                        Return in about 3 months
                        (around 10/14/2017).




     What's Next
     You currently have no upcoming appointments S<heduled.


                                                                                        Patient Portal
                                                                                       View your After Visit Summary and more
                                                                                        online at httos://myocbsoerorg/
                                                                                                                                   w


      Oc<-/Tsm,pseed (MRN l904l.V.} • Pontes at 7/!4/li 3 34 PM
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                  Name: Oory Turnipseed f DOB: 9/ 4/ 1981 IMRN: 1904134 I PCP: Matthew A Mcqueen, MD



Appointment Details

Visit Summary



 '\/A~"~i5tr SUMMARY
 Dory Turnipseed             DoB: 9/4/1981        t;'J 9/27/2016 8:30 AM <;) Jeff Hwy· Psychiatry 504·842-4025



 Instructions from (ric West, MD
            Today's medication changes
            ~ CHANGE how you take:
              dextroamphetamine-amphetamine 20 MG 24 hr capsule (ADDERALL XR)
              dextroamphetamine-amphetamine 20 mg tablet (ADDERALL)
            Accurate as of 9/27/ 16 11 :59 PM.
            Review your updated medication list below.

            Pick up these medications at Walgreens Drug Store 11496 - NEW ORLEANS, LA - 101
 ~
 00
            ROBERT E LEE BLVD AT NEC of West End & Robert E Lee
            escitalopram oxalate
             Address:        101 ROBERT E LEE BLVD. NEW ORLEANS LA 70124· 2560
             Phone:          504-282-2203


 ~
 00
            Pick up these medications from any pharmacy with your printed prescnption
            dextroamphetamine-amphetamine (6 prescriptions)


            Return in about 3 rnonths
            (around 12/27/2016).




 Today's Visit
 You saw Eric West MD on Tuesday September 27, 2016. The following issues were addressed: Attention deficit
 hyperactivity disorder (ADHD), predominantly inattentive type and GAD (generalized anxiety disorder).


  1
   ·:-,--   Blood Pressure         "-+ $Ml                 ·'... .· Weight            .0    Height
   ~-'.:;I 144/78                    ,._ 29.58             . -, 167 lb                     . s· 3"
   Case 2:18-cv-05187-CJB-KWR
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                                                                    14 of 17

                   Name: Dory Turnipseed I DOB: 9/4/1981 j MRN : 1904134 I PCP: Matthew A Mcqueen, MO



Appointment Details

Visit Summary




 !~ ~ff
 Dory Turnipseed
                          SUMMARY
                             DoB: 9/4/1981         r::;'.) 5/19/2016 10:00 AM   9   Jeff HW'/ · Psychiatry 504·842·4025



 Instructions from Justin Hendricks, MD
          Today's medication changes
          9   CHANGE how you take:
              dextroamphetamine-amphetamine 20 MG 24 hr capsule (ADDERALL XR)
              Changed by Justin Hendncks. MD
              dextroamphetamine-amphetamine 20 mg tablet (AMPHETAMINE SALT COMBO)
              Changed by Justin Hendncks. MD
              esdtalopram oxalate 20 MG tablet (lEXA?RO)
              Changed by Justin Hendricks, MD
          Accurate as of 5/19/16 11:59 PM.
          Review your updated medication list below.

  rrrmPick up these medications at Wa!greens Drug Store 11496 - NEW ORLEANS, LA - 101
  e ' ROBERT E LEE BLVD AT NEC of West End & Robert E Lee
   00
          escitalopram oxalate

          Address:           101 ROBERT E LEE BLVD, NEW ORLEANS LA 70124-2560
          Phone:             504-282 -2203


  ~ Pick up these medicc1tions from any pharmacy with your pnnted prescription
   0 0    dextroamphetamine-amphetamine (6 prescriptions)




 Today's Visit
 You saw Justin Hendricks, MD on Thursday May 19, 2016. The following issues were addressed: Attention
 deficit hyperactivity disorder (ADHD), predominantly inattentive type and GAD (generalized an,iety disorder).


   ·' r.;', Blood Pressure          r:', 13MI               (,'. ,! Weight                  ;'.°J.   l Height
      ·.'.1/ 130/74               ',1.i! 28.34               ..:.:::_, 160 lb               · , ..! s· 3•
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  1[ · ,:: Pulse
  ,"     84
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                                                               Page
                                                                  of 17
                                                                     15 of 17

               Name: Dory Turnipseed I DOB: 9/4/1981 f MRN: 1904134 f PCP: Matthew A Mcqueen, MO



Appointment Details

Visit Summary




 Dory Turnipseed        DoB: 9/4/1981         t;] 12/3/2015 10·00 AM     9   Jeff Hwy• Psychiatry 504-842-4025




 Instructions from Justin Hendricks, MO
  A Today's medication changes
 {...-(9 ~ CHANGE how you take:
            dextroamphetamine-amphetamine 20 MG 24 hr capsule (ADDERALL XR)
            Changed hy Justin Hendncks, MD
            dextroamphetamine-amphetamine 10 mg Tab (AMPHETAMINE SAlT COMBO)
            Changed by Justin Hendncks, MD
            escitalopram oxalate 10 MG tabk>t {LEXAPRO)
            Changed by Justin Hendricks. MD
            escitalopram oxalate 20 MG tablet (LEXAPRO)
            Changed by Justin Hendricks. MD
         Accurate as of 12/3/15 11:59 PM.
         Review your updated medication list below.

 1nm Pick uo these medications at Walqreens Drug Store 11496 - NEW ORLEANS, lA 101
  ~
  00
     ROBERT E LEE BLVD AT NEC of ltvest End & Robert E Lee
         escitalopram oxalate

         Address:       101 ROBERT E LEE BLVD, NEW ORLEANS LA 70124-2560
         Phone:         504-282-2203


 ~ Pick up these medications from any pharmacy with your printed prescription
  0 0    dextroamphetamine-amphetamine (6 prescripti ons)




 Today's Visit
 You saw Justin Hendricks, MD on Thursday December 3, 201S. The following issues were addressed: Attention
 deficit hyperactivity disorder (ADHD), combined type and GAD {generalized anxiety disorder).

  , :~ Blood Pressure           ~l   SM(               ··:::;- W . ht
                                                       L~:      efg                 : . . -l Height
   J    126/72               ·k      25.69            ....... • 145 lb              ,/ s· 3"
   Case 2:18-cv-05187-CJB-KWR
        Case 2:18-cv-05187 Document
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                                    1-1 24-1
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                                               Filed 06/20/18
                                                         Page 16
                                                              Page
                                                                 of 17
                                                                    16 of 17

                Name: Dory Turnipseed j DOB: 9/4/ 1981 i MRN: 1904134 f PCP: Matthew A Mcqueen, MD



Appointment Details

Visit Summary



 ~
 A-eJi~ff SUMMARY
 Dory Turnipseed         Dos: 9/4/1981            t;'J Sn/201 S 9:00 AM Q Jeff Hwy • Psychiatry 504·842-4025


 Instructions         irom Ravinder   s I' Marok. MD
         Today's medication changes
          C) START taking:
             escitalopram oxalate 10 MG tablet (LEXAPRO)
             Started by Ravinder S P Marok. MO

         ~ CHANGE how you take:
             dextroamphetamine-amphetamlne 10 mg Tab (AMPHETAMINE SALT COMBO)
             Changed by Ravinder S P Marok. MO

         0   STOP taking :
             citalopram 10 MG tablet (CELEXA)
             St opped by Ravinder S P Marok, MD
         Accurate as of 5/7/ 15 11:59 PM.
         Review your updated medication list below.


         Pick up these medications at Walgreens Drug Store 11496 • NEW ORLEANS. LA - 101
 ~
 0 0
         ROBERT E LEE BlVD AT NEC of West End & Robert E lee
         escitalopram oxalate

          Add ress:      101 ROBERT E LEE BLVD, NEW ORLEANS lA 70124-2560
          Phone:         504-282-2203

 ~ Pick up these medications from               any pharmacy with your printed prescription
  0 0    dextroamphetamine-amphetamine (2 prescriptions)




 Today's Visit
 You saw Rallinder SP Marok, MO on Thursday May 7, 2015. The following issues were addressed: GAD
 (generalized anxiety disorder); Attention deficit hyperactivity disorder (ADHD), predominantly inattentive type;
 and Shift work sleep disorder.
        Case 2:18-cv-05187-CJB-KWR
             Case 2:18-cv-05187 Document
                                    Document
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                                                    Filed 06/20/18
                                                              Page 17
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                                                                         17 of 17

                       Name: Dory Turnipseed j DOS: 9/4/1981 i MRN: 1904134 ( PCP: Matthew A Mcqueen, MO
'

    Appointment Details

    Visit Summary



     rA~ ~~ff SUMMARY
     Dory Turnipseed           DoB: 9/4/1981            ~ 4/9/201$ 10·30 AM    Q Jeff Hwy - Psychiatry $04-842-4025


     Instructions from Ravinde, s p Marok, MD
      At Today's medication changes
      C{5) C) START taking:
                     citalopram 10 MG tablet (CElfXA)
                     dextroamphetamine-amphetamine 10 mg Tab (AMPHETAMINE SALT COMBO)
               Accurate as of4/9/1511:59 PM.
               Review your updated medication list below.

     liml Pick up these medications at Walgreens Drug Store 11496 - NEW ORLEANS, LA 101
      ~ ROBERT E LEE BLVD AT NEC of West End & Robert E Lee
      00
               citalopram

               Address:         101 ROBERT E LEE BLVD, NEW ORLEANS LA 70124-2560
               Phone:           504-282-2203


     ~ Pick up these medications from any pharmacy with your printed prescnpt,on
       0 0     dextroamphetamine-amphetamine (2 prescriptions)




     Today's Visit
     You saw Ravinder S P Marok, MD on Thursday April 9, 2015. The following issues were addressed: GAD
     (generalized anxiety disorder), ADHO (attention deficit hyperactivity dise<der), and Shift work sleep disorder.

      ,¢:'. Blood Pressure           ··.·{   SMf               ,   ., Weight               ·.:. ·; Height
      \:JI 123/74                    · ,,-' I 24.52           .-:-- 138 lb 6.4 oz         ' j j 5' 3"
     •i( · :, Pulse
      ':, . :;, 85



     What's Next
     You currently have no upcoming appointments scheduled.
